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 4
     Attorney for Defendant
 5   William James Moore

 6

 7                  IN THE UNITED STATES DISTRICT COURT

 8                 FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,     )        CR NO. S-07-333 FCD
                                   )
11             Plaintiff,          )        STIPULATION AND
                                   )        ORDER CONTINUING
12        v.                       )        SENTENCING
                                   )
13   William James Moore,          )
                                   )        Date:    10/14/008
14             Defendant.          )        Time:    10:00 a.m.
     ______________________________)        Judge:   Hon. Frank C. Damrell
15

16   The parties hereby stipulate to the following:

17        1.   Judgement and sentencing in this matter is presently

18             set for October 14, 2008.      In order to give counsel

19             additional time to provide materials to the probation

20             officer, it is hereby requested that the date for

21             judgement and sentencing be continued to November 24,

22             2008 at 10:00 a.m.

23        2.   The parties hereby request that the court adopt the

24             following schedule pertaining to the presentence

25             report:

26             Motion for correction of the
               presentence report:                      November 17, 2008
27
               Presentence report filed with
28             Court and disclosed to counsel:          November 10, 2008
                                        1
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 1
               Counsel’s written objections
 2             to presentence report due:               November 3, 2008

 3             Proposed presentence report
               disclosed to counsel by:                 October 21, 2008
 4

 5
     Dated: October 10, 2008                    /s/ John R. Manning
 6                                            JOHN R. MANNING
                                              Attorney for Defendant
 7                                            William James Moore

 8

 9   Dated: October 10, 2008                    /s/ Jason Hitt
                                              Jason Hitt
10                                            Assistant U.S. Attorney

11

12                                    ORDER

13   GOOD CAUSE APPEARING, it is hereby ordered that the date for the

14   judgement and sentence of defendant William Moore be continued

15   from October 14, 2008 to November 24, 2008.        The court hereby

16   adopts the schedule concerning the presentence report as

17   stipulated to by the parties and set forth herein.

18   DATED: October 10, 2008

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                               _______________________________________
22                             FRANK C. DAMRELL, JR.
23                             UNITED STATES DISTRICT JUDGE

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